Case 2:24-cv-04702-MCS-PD Document 48-29 Filed 06/24/24 Page 1 of 5 Page ID #:401




                            Exhibit 21
                  Declaration of Eden Shemuelian
Case 2:24-cv-04702-MCS-PD Document 48-29 Filed 06/24/24 Page 2 of 5 Page ID #:402
5/21/24, 8Case
           40 PM 2:24-cv-04702-MCS-PD                                                    Document 48-29
                                                                                             LawNET         Filed 06/24/24
                                                                                                    Mail Condemning                  Page 3 of 5 Page ID #:403
                                                                                                                    Violence in our Community


    From: Chancellor Gene D. Block <                                                                                >
    Sent: Wednesday, May 1, 2024 2:16 PM
    To: Waterstone, Michael <                                                                            >
    Subject: Condemning Violence in our Community


    We wi l esto e a sa e lea n ng envi onment at UC A




                                                         Dear Bruin Community:




                                                         Late last night, a group of instigators came to Royce Quad to forcefully attack the encampment that
                                                         has been established there to advocate for Palestinian rights. Physical violence ensued, and our
                                                         campus requested support from external law enforcement agencies to help end this appalling assault,
                                                         quell the fighting and protect our community.




                                                         However one feels about the encampment, this attack on our students, faculty and community
                                                         members was utterly unacceptable. It has shaken our campus to its core and — adding to other
                                                         abhorrent incidents that we have witnessed and that have circulated on social media over the past
                                                         several days — further damaged our community’s sense of security.




                                                         I want to express my sincere sympathy to those who were injured last night, and to all those who
                                                         have been harmed or have feared for their safety in recent days. No one at this university should
                                                                              SHEMUELIAN DECLARATION EXHIBIT 21
                                                                                             75
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5/21/24, 8Case
           40 PM 2:24-cv-04702-MCS-PD                Document 48-29
                                                         LawNET         Filed 06/24/24
                                                                Mail Condemning                  Page 4 of 5 Page ID #:404
                                                                                Violence in our Community

                have to encounter such violence. Our student affairs team has been reaching out to affected
                individuals and groups to offer support and connections to health and mental health resources.




                I also want to acknowledge the trauma and heartache this has brought to our full campus. Resources
                are available to students through the Student Affairs website and Counseling & Psychological
                Services, and to employees through the Staff & Faculty Counseling Center.




                We are still gathering information about the attack on the encampment last night, and I can assure
                you that we will conduct a thorough investigation that may lead to arrests, expulsions and dismissals.
                We are also carefully examining our own security processes in light of recent events. To help in these
                efforts, I urge those who have experienced violence to report what they encountered to UCPD, and
                those who have faced discrimination to contact the Civil Rights Office. We are grateful for the support
                of law enforcement and their efforts to investigate these incidents.




                This is a dark chapter in our campus’s history. We will restore a safe learning environment at UCLA.




                Sincerely,




                Gene D. Block
                Chancellor




                                        SHEMUELIAN DECLARATION EXHIBIT 21
                                                       76
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5/21/24, 8Case
           40 PM 2:24-cv-04702-MCS-PD                Document 48-29
                                                         LawNET         Filed 06/24/24
                                                                Mail Condemning                  Page 5 of 5 Page ID #:405
                                                                                Violence in our Community




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